
Judgment reversed. Grounds stated in journal entry.
*316The court find that said court erred in affirming the judgment of the court of common pleas and that the court of common pleas erred in its first conclusion of law on the findings of fact in said cause and did not err in its second conclusion of law on said findings of fact. It is therefore ordered and adjudged by this court that the judgments of the courts below be, and the same are hereby, reversed. And coming now to render the judgment which the court of common pleas should have rendered, it is hereby ordered and adjudged that the petition of defendant in error, Hazel M. Rowe, plaintiff in said cause in the court of common pleas be, and the same is hereby, dismissed.
Davis, C. J., Spear, Shauck, Johnson' and Donahue, JJ., concur.
